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                            UNITED STATES DISTRICT COURT
                            EASTERN DIVISION OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                      Plaintiff,

v.                                                     Case No. 15-20609

D-7 AMBER SIX,

                      Defendant.
                                            /

                 ORDER DENYING DEFENDANT’S MOTION TO SEVER

         Pending before the court is Defendant’s entirely academic Motion to Sever, (Dkt.

#148) arguing that an out-of-court statement made by one of her codefendants, Mr.

Cornacchia, may be introduced into evidence by the prosecution. She files the motion

concerned that the court's motion deadline might pass leaving her in the position of

forfeiting the right to contest the statement. Bruton v. U.S., 391 U.S. 123 (1968). She

avers, at the same time, the “[t]he government has declined Ms. Six’s request for

disclosure of the full version of Mr. Cornnacchia’s alleged statement, [and] it has not

revealed whether or not it intends to introduce this statement of Mr. Cornacchia at trial.

. . .”

         The court does set motion deadlines and does expect that they be honored, but a

defendant cannot practically be expected to react to evidence about which she is

without a reasonable degree of knowledge, and the court therefore cannot fairly hold

her to have forfeited a right to object (with or without a full-blown motion) in

circumstances such as these. Defendant has not dallied–and that much is
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admirable–but has brought the court an irresolvable issue since the court is equally

without knowledge as to the details of the evidence in the hands of only the

Government.

           The motion is TERMINATED, without prejudice, as UNRIPE.


                                                                       S/Robert H. Cleland
                                                                      ROBERT H. CLELAND
                                                                      UNITED STATES DISTRICT JUDGE
Dated: April 21, 2017

I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, April 21, 2017, by electronic and/or ordinary mail.

                                                                       S/Lisa Wagner
                                                                      Case Manager and Deputy Clerk
                                                                      (810) 984-2056




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